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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 LINDA FAIRSTEIN,

                        Plaintiff,

                -against-
                                                     Civil Action No. 1:20-cv-08042 (PKC)
 NETFLIX, INC., AVA DUVERNAY, and
 ATTICA LOCKE,

                        Defendants.


                               NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE, that the undersigned, Andrew T. Miltenberg of the law firm

of Nesenoff & Miltenberg, LLP, enters his appearance as counsel for Plaintiff Linda Fairstein, and

requests that all pleadings, notices and other papers be served upon him in this matter.

Dated:         New York, New York
               October 7, 2020

                                              NESENOFF & MILTENBERG, LLP
                                              Attorneys for Plaintiff

                                      By:     /s/ Andrew T. Miltenberg
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